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 5
     Attorney for Defendant
 6   ZHI XUE
 7
 8                               UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          Criminal No. 2:06-cr-0390 EJG
12                  Plaintiff,
                                                        STIPULATION AND ORDER TO
13            v.                                        VACATE AND RESET COURT
                                                        APPEARANCE
14   ZHI XUE,
15              Defendant.
     _____________________________/
16
17
18            IT IS HEREBY STIPULATED by and between Assistant United States Attorney
19   Robert M. Twiss, counsel for plaintiff, and Douglas Horngrad, counsel for Zhi Xue, that,
20   with regard to defendant Zhi Xue only, Mr. Xue’s September 28, 2007, court appearance is
21   vacated and reset for November 30, 2007, at 10:00 a.m. for status, or as soon thereafter as
22   is convenient for the Court.     The reset is requested because counsel for Mr. Xue is
23   unavailable at the time of the September 28, 2007, court appearance.
24            The court interpreter coordinator Yolanda Riley Portal has been notified and has
25   indicated that November 30, 2007 is an available date for the interpreter’s office.
26            IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act
27   continue to be excluded from September 28, 2007 through November 30, 2007, pursuant to
28   //
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 1   18 U.S.C. § 3161(h)(8)(A) & (B)(ii) and (iv), Local Codes T-2 and T-4.
 2
 3   Dated: September 26, 2007                       /s/ Douglas Horngrad
                                                     Attorney for Defendant
 4                                                   ZHI XUE
 5
 6   Dated: September 26, 2007                       /s/ Robert Twiss
                                                     ROBERT M. TWISS
 7                                                   Counsel for Plaintiff
 8
 9
           IT IS SO ORDERED
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11
12
13   Dated: September 27, 2007               /s/ Edward J. Garcia
                                             HON. EDWARD J. GARCIA
14                                           Senior United States District Court Judge
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